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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 24-21797-CV-WILLIAMS

  RICHARD REYNOLDS,

        Plaintiff,

  v.

  COMMISSIONER OF SOCIAL
  SECURITY,

        Defendant.

  ___________________________/

                                          ORDER

        THIS MATTER is before the Court on Magistrate Judge Marty F. Elfenbein’s

  Report and Recommendation (DE 22) (“Report”) on Plaintiff Richard Reynolds’

  Unopposed Motion for Attorney Fees and Costs Under the Equal Access to Justice Act

  (DE 20) (“Motion”). In the Report, Judge Elfenbein recommends that the Motion be

  granted, and that Plaintiff be awarded attorneys’ fees in the amount of $2,409.51 and

  costs in the amount of $405.00. (DE 22 at 12.) 1 Defendant filed Objections to the Report

  (DE 23) but does not challenge Judge Elfenbein’s recommendation. Instead, Defendant

  simply requests that the attorney fee amount and costs be listed separately, to ensure

  proper handling and reimbursement. (Id. at 2.)

        Upon a careful review of the Report, the Motion, the Objections, the record, and

  applicable law, it is ORDERED AND ADJUDGED that:

        1.      Judge Elfenbein’s Report (DE 22) is AFFIRMED AND ADOPTED with fees



  1 Judge Elfenbein additionally notes that Plaintiff reported in his Motion that Defendant

  “has no objection to [the] Motion.” (DE 22 at 1.)
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               and costs listed separately below.

        2.     Plaintiff Richard Reynolds’ Unopposed Motion for Attorneys’ Fees and

               Costs Under the Equal Access to Justice Act (DE 20) is GRANTED.

        3.     Final judgment on attorneys’ fees and costs is entered in favor of Plaintiff

               Richard Reynolds and against Defendant Commissioner of Social Secuirty

               in the amount of $2,409.51 in attorneys’ fees and $405.00 in costs, for

               which sum let execution issue.

        4.     The award is to be PAID Plaintiff’s lawyer, Heather Freeman, subject to

               offset against any pre-existing debt that Plaintiff may owe to the United

               States.

        5.     This case remains CLOSED.

        DONE AND ORDERED in Chambers in Miami, Florida, on this 11th day

  of March, 2025.




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